Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 1 of 6   PageID
                                   #: 574
Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 2 of 6   PageID
                                   #: 575
Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 3 of 6   PageID
                                   #: 576
Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 4 of 6   PageID
                                   #: 577
Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 5 of 6   PageID
                                   #: 578
Case 3:14-cr-00083-TAV-DCP   Document 117   Filed 02/02/15   Page 6 of 6   PageID
                                   #: 579
